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  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
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 11    TEE TURTLE, LLC                          Case No.: 2:21-CV-03572-CBM-(Ex)
 12           Plaintiff,                        JUDGMENT [JS-6]
       v.
 13
       ABMASK, et al.,
 14
              Defendants.
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 17         Consistent with the Court’s Order re: Plaintiff’s Motion for Default
 18   Judgment and Permanent Injunction, judgment is entered pursuant to Federal Rule
 19   of Civil Procedure 58 in favor of Plaintiff and against Defendants in the amount of
 20   1) $40,000.00 against each of the following defendants: Allanhu, Bestdeals,
 21   Besthot2020, Earlybirdno1 Co. Ltd., Hot Wind, and Promotionspace; and 2)
 22   $25,000.00 against each of the following defendants: Abmask, Ast523,
 23   Babyeveryday, Babyfashionwedding, Beautydesign, Besthair2021, Bestoffers,
 24   Beststore2021, Cheapgoodfuns Co., Ltd., Chicmissday, Cinderelladress, Creative
 25   2, Cwmsports, DHGate Boutiques Store, Dresssave, Fidget Toys, Googsports,
 26   Hangzhou Boyuan Enterprise Management Co., Ltd., Happylifes, Homehome9,
 27   Jack6666, Jspet, Kidswonder, Kn95 Facemask, Letsports, Misshowdress, Ningbo
 28   Jeeweex Enterprise, One-stopos, Shanhai2008 (HK) International Trading
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  1   Limited, Shantou Hoya Network Technology Co., Ltd., Shenzhen Dream Co.,
  2   Ltd., Springwedding Factory, Triple_s_sneakers, Tongxiang Indus Hin Yue
  3   Zhendong Sweater Factory, Wholesalefactory, Wristwatches(HK) International
  4   Trading Co., Ltd., Wusy_store, and Zi527.
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  6   Dated: November 17, 2021
                                          CONSUELO B. MARSHALL
  7                                       UNITED STATES DISTRICT JUDGE
  8      CC: FISCAL
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